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      Causemetics, Inc.
  7
  8                             UNITED STATES DISTRICT COURT
  9                            CENTRAL DISTRICT OF CALIFORNIA
 10
 11   THRIVE NATURAL CARE, INC.                   Case No. 2:20-cv-9091-PA-AS
 12               Plaintiff,                      Hon. Percy Anderson
 13         v.                                    DECLARATION OF ROLLIN A.
                                                  RANSOM IN SUPPORT OF
 14   THRIVE CAUSEMETICS, INC.,                   DEFENDANT THRIVE
                                                  CAUSEMETICS, INC.’S MOTION
 15               Defendant.                      FOR CONTEMPT OR, IN THE
                                                  ALTERNATIVE, FOR AN ORDER
 16                                               TO SHOW CAUSE RE: CIVIL
                                                  CONTEMPT
 17
                                                  Date: August 8, 2022
 18                                               Time: 1:30 p.m.
                                                  Place: Courtroom 9A
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          DECLARATION OF ROLLIN A. RANSOM IN SUPPORT OF DEFENDANT THRIVE
                     CAUSEMETICS, INC.’S MOTION FOR CONTEMPT
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  1                        DECLARATION OF ROLLIN A. RANSOM
  2         I, Rollin A. Ransom, declare and state as follows:
  3         1.       I am an attorney at law licensed to practice before all of the Courts of the
  4   State of California and admitted to practice in this District. I am a partner at the law
  5   firm of Sidley Austin LLP, counsel of record for Defendant Thrive Causemetics, Inc.
  6   (“TCI”) in this action, and submit this declaration in support of TCI’s Motion For
  7   Contempt or, in the Alternative, for an Order to Show Cause re: Civil Contempt (the
  8   “Motion”). I have personal knowledge of the following facts and, if called and sworn
  9   as a witness, could and would competently testify thereto.
 10         2.       Attached hereto as Exhibit A is a true and correct copy of the United
 11   States Patent and Trademark Office’s (“USPTO”) Trademark Snap Shot Amendment
 12   and Mail Processing Stylesheet dated January 29, 2022, regarding Application Serial
 13   No. 87895130 (the “Application”), available at
 14   https://tsdr.uspto.gov/documentviewer?caseId=sn87895130&docId=AMC202201290
 15   92142#docIndex=1&page=1.
 16         3.       Attached hereto as Exhibit B is a true and correct copy of a Final Office
 17   Action dated March 2, 2022, issued by the USPTO regarding the Application,
 18   available at
 19   https://tsdr.uspto.gov/documentviewer?caseId=sn87895130&docId=AMC202201290
 20   92142#docIndex=0&page=1.
 21         4.       Through counsel, the parties began negotiating a long-form settlement
 22   agreement in the fall of 2021, and continued to do so in the first quarter of 2022.
 23   These negotiations included exchanging multiple drafts and participating in several
 24   telephone conversations.
 25         5.       On or about March 22, 2022, I advised Stephen McArthur, counsel for
 26   Plaintiff Thrive Natural Care, Inc. (“Plaintiff”), that TCI had amended the Application
 27   as required by the Court’s January 19, 2022, Judgment (ECF No. 204) (the
 28   “Judgment”), and requested that Plaintiff execute a simple trademark consent
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           DECLARATION OF ROLLIN A. RANSOM IN SUPPORT OF DEFENDANT THRIVE
                      CAUSEMETICS, INC.’S MOTION FOR CONTEMPT
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  1   document reflecting its consent to registration of TCI’s mark in the amended
  2   Application, as also required by the Judgment. Mr. McArthur suggested that the
  3   parties instead continue to work on the long-form agreement.
  4         6.     Over the next several weeks, I contacted Mr. McArthur at least five
  5   separate times to request execution of the trademark consent document for filing with
  6   the USPTO. At various times, Mr. McArthur advised me that he was “discussing with
  7   my client,” that another matter was occupying his client’s attention and “[w]e will get
  8   to this shortly,” that he would “discuss with my client and get back to you,” and that
  9   “I am discussing with my client.” In late April, Mr. McArthur advised that Plaintiff
 10   would not sign the trademark consent document, ostensibly because it did not offer
 11   Plaintiff adequate protections without an accompanying long-form settlement
 12   agreement, and asserted that because TCI has until September 2, 2022, to file the
 13   consent with the USPTO, “there is no urgency here or impending deadline.”
 14         7.     Soon thereafter, in May 2022, the parties reached an impasse on the long-
 15   form settlement agreement, and they are no longer actively negotiating it.
 16         8.     On June 14, 2022, counsel for TCI and Mr. McArthur conferred by
 17   telephone regarding TCI’s anticipated motion to enforce the Judgment. During that
 18   call, Plaintiff’s counsel reiterated Plaintiff’s position that it would not sign the
 19   trademark consent document, and the parties were otherwise unable to reach a
 20   resolution of this issue.
 21         9.     Attached hereto as Exhibit C is a true and correct copy of a Trademark
 22   Consent Agreement reflecting Plaintiff’s consent as required by the Judgment, in a
 23   form suitable for filing with the USPTO.
 24         I declare under penalty of perjury under the laws of the United States that the
 25   above facts are true and correct.
 26         Executed this 11th day of July 2022, in Los Angeles, California.
 27                                                /s/ Rollin A. Ransom
 28                                                 Rollin A. Ransom
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           DECLARATION OF ROLLIN A. RANSOM IN SUPPORT OF DEFENDANT THRIVE
                      CAUSEMETICS, INC.’S MOTION FOR CONTEMPT
